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                                         January 3, 2023
The Honorable Chelsey M. Vascura
United States District Court
Southern District of Ohio

       Re:      Sweeney et al. v. Nationwide Mut. Ins. Co. et al., No. 2:20-cv-01569 (S.D. Ohio)
Dear Judge Vascura:
Pursuant to Your Honor’s December 2, 2022 Order (ECF 96), Plaintiffs submit this position
statement regarding certain remaining disputes relating to Defendants’ ESI searches.
                                          Background
As previously discussed, Defendants did not provide their proposed ESI custodians and search
terms until November 21, 2022, nearly seven months after Plaintiffs served their Requests for
Production. See ECF 98-1 at PageID #3278-83 (outlining Defendants’ proposed searches).
Plaintiffs then provided Defendants with a proposed supplemental set of search parameters on
November 23, consisting of five additional custodians and nine additional searches. Id. at PageID
#3284-89 (last two pages attached as Exhibit A). The parties met and conferred on November 28,
but Defendants would not agree to any of the supplemental custodians or search terms in advance
of the December 1 hearing. Following the Court’s Order, the parties again met and conferred on
December 7. The parties have now reached agreement on most of the supplemental custodians
(subject to further negotiation regarding Alan Stalnacker), but have not reached agreement on
supplemental searches. Of the nine supplemental searches that Plaintiffs proposed, Defendants
have only agreed to one and have not even responded to Plaintiffs’ most recent compromise
proposals. The eight disputed supplemental searches are addressed below.
Searches that Defendants Categorically Refuse to Conduct (Supplemental Searches 1, 2 & 5)
Defendants’ proposed search terms did not include any searches relating to: (i) the fees and
expenses charged in connection with the Guaranteed Fund, (ii) the profits (i.e., margin or “spread”)
to Nationwide in connection with the Fund, or (iii) the investment of the Fund’s assets in
Nationwide’s general account (or pools or cells within the general account) and associated risks.
To remedy this oversight, Plaintiffs proposed Supplemental Searches 1, 2, and 5. See Exhibit A.
However, Defendants still have refused to conduct any ESI searches of this nature (or to produce
any documents outside of the ESI search process relating to these subjects). This is prejudicial for
the reasons stated in Plaintiffs’ letter brief on November 3, 2022, as further elaborated upon in
their pending Rule 56(d) motion. See ECF 98 at 14-17. Plaintiffs’ investment expert, Richard
Kopcke, has opined that “all of this information would be useful for purposes of analyzing the
Guaranteed Fund and assessing whether it is an appropriate investment for the Plan.” ECF 98-2,
at ¶ 36; see also id. ¶¶ 25(a)-(b), 28, 41-48. The Plan’s investment consultant, Callan LLC, also
has emphasized the importance of fees and the spread to its investment analysis, objecting that it
had “no line of sight” into these matters. See ECF 98 at 4, 14-15. Moreover, aside from the
relevance to the fiduciary investment analysis, the fees charged to the Plan and the spread retained
by Nationwide are relevant to Defendants’ asserted prohibited-transaction exemption under 29
U.S.C. § 1108(b)(5) (which requires them to show that “the Plan pays no more than adequate
consideration” to Nationwide) and the Transition Policy safe harbor under 29 C.F.R. § 2550.401c-
1 (which requires compliance with 29 U.S.C. § 1108(b)(5)). See ECF 98 at 16-17.
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Searches Defendants Rejected as Overbroad with No Counterproposal (Searches 3, 6 & 7)
Defendants’ searches also contain other fundamental deficiencies. For example, Defendants only
included two searches relating to the Plan’s investment committee (known as the Benefits
Investment Committee or BIC), which is a named Defendant in this action, and neither of those
searches are tied to the Guaranteed Fund that is the subject of the lawsuit. See ECF 98-1 at PageID
#3281. Similarly, Defendants omitted to include any search terms relating to the potential removal,
replacement, or withdrawal of the Guaranteed Fund from the Plan (or associated concerns about
liability exposure). Further, Defendants omitted to include searches relating to guaranteed
minimum interest rates for the Guaranteed Fund. To remedy these deficiencies, Plaintiffs proposed
supplemental searches 3, 6, and 7, respectively. Defendants rejected these proposed searches as
overbroad, but did not make a counterproposal. Instead, Defendants asked Plaintiffs to unilaterally
narrow these searches. Plaintiffs then offered to narrow the searches as follows:
 Supplemental Search 3: (“benefits investment committee” OR “investment committee” OR
 committee OR BIC) AND (“guaranteed investment fund” OR “guaranteed fund” OR
 “guaranteed investment contract” OR “guarantee fund” OR “group annuity contract” OR GIF
 OR GF OR GIC OR GAC OR 401k OR “401(k)” OR captive OR plan)
 Supplemental Search 6: (remov! OR replac! OR withdraw! OR liab! OR expos!) AND
 (“guaranteed investment fund” OR “guarantee fund” OR “guaranteed fund” OR “guaranteed
 investment contract” OR “group annuity contract” OR GIF OR GF OR GIC OR GAC)
 Supplemental Search 7: ("guaranteed minimum interest rate” or “guaranteed interest rate!”
 OR GMIR) & (“guaranteed investment fund” OR “guaranteed fund” OR “guaranteed
 investment contract” OR “guarantee fund” OR “group annuity contract” OR GIF OR GF OR GIC
 OR GAC OR “Nationwide Savings Plan” OR NSP OR 401k OR “401(k)” OR captive OR plan)
However, Defendants have not agreed even to these narrowed searches. The relevance of the first
two searches (Searches 3 and 6) is self-evident. Supplemental Search 7 is also relevant based on
the expert testimony of Mr. Kopcke, who has opined that “crediting rate minimums” are an
important consideration for any guaranteed investment product. ECF No. 98-2, at ¶¶ 25(e), 28.
Searches that Defendants Have Excessively Narrowed (Supplemental Searches 4 & 8)
Finally, the parties have been unable to reach agreement on Supplemental Searches 4 and 8.
Because of the central importance of the Guaranteed Fund to this case, Plaintiffs believe that
“Guaranteed Fund” should be included as a standalone search term in Search 8. But Defendants
will only agree to include the policy numbers associated with the Fund (L941 or APO-3243) as
standalone terms. As a compromise, Plaintiffs offered to include “Guaranteed Fund” as a
standalone term only for BIC members. However, Defendants have not agreed to this compromise.
With respect to Search 4 relating to Callan, Defendants seek to restrict this term as follows:
 Callan AND (“benefits investment committee” OR BIC OR “investment committee” OR
 committee OR “guaranteed investment fund” OR “guaranteed fund” OR “guarantee fund” OR
 “guaranteed investment contract” OR “group annuity contract” OR GIF OR GF OR GIC OR GAC
 OR “stable value” OR 401k OR "401(k)" OR captive OR plan).
Plaintiffs are willing to agree to many of these restrictions as a compromise, but seek to re-include
the synonymous terms “GIF”, “GF”, “GIC” or “GAC”, and also “captive” as a term of art.
Nationwide referred to its in-house benefits plans as “captive” plans, and Defendants agreed to
include the word “captive” in Supplemental Search 9. Moreover, based on documents already
provided, Nationwide frequently referred to its “Guaranteed Fund” simply as a “GIC.” See, e.g.,
ECF 98-1, Ex. 27 (reports from a Nationwide affiliate referring to Guaranteed Fund as the “GIC”).

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                                          Respectfully Submitted,




                                          Kai Richter

cc:   Defendants’ counsel of record (via email)




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